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                                          U.S. Department of Justice
[Type text]
                                                      United States Attorney
                                                      Southern District of New York

                                                      The Silvio J. Mollo Building
                                                      One Saint Andrew’s Plaza
                                                      New York, New York 10007



                                                      August 2, 2023

Honorable Denise L. Cote
United States District Judge
Daniel Patrick Moynihan
United States Courthouse
500 Pearl Street
New York, New York 10007

       Re:     United States v. James Velissaris,
               22 Cr. 105 (DLC)

Dear Judge Cote:

       The Government writes in response to defendant James Velissaris’s July 21 submission
regarding the attorney’s fees sought in restitution in the above-captioned case, per the Court’s July
19, 2023 Order. (Dkt. 135). With the modification and for the reasons stated below, the victims’
requests for attorney’s fees should be granted.

       A. Procedural History

         On November 21, 2022, the defendant pleaded guilty to one count of securities fraud, in
violation of 15 U.S.C. §§ 78j(b) and 78ff, 17 C.F.R. § 240.10b-5, and 18 U.S.C. § 2. The plea
agreement that the defendant signed included an agreement “to make restitution in an amount
ordered by the Court, pursuant to Title 18, United States Code, Sections 3663, 3663A, and 3664.”
(Plea Agmt. 2). At the defendant’s April 7 sentencing, the Court deferred its determination of
restitution pursuant to 18 U.S.C. § 3664(d)(5) “to give the parties time to hopefully reach
agreement with respect to the amount of restitution.” (Sent. Tr. 43-44).

        The parties have submitted a number of letters addressing the appropriate restitution
amount. On June 13, 2023, the Government submitted a letter setting out the requests of two of
the victims, the Diversified Alpha Fund (“DAF”) and the Volatility Alpha Fund (“VAF”)
(together, the “Funds”) for a total of approximately $126 million in restitution. These requests
included requests to compensate for loss caused by overpayments to Infinity Q and shareholders
due to the defendant’s fraud, payments to third-party vendors necessitated by the defendant’s
fraud, and attorney’s fees related to participation in the investigation or prosecution of the offense
or attendance at proceedings related to the offense. (Dkt. 129). On June 20, the defendant
submitted a letter objecting to the restitution requests on multiple grounds. (Dkt. 130).
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       On June 27, the Court ordered that restitution would be entered in this case, with the final
amount of restitution to be determined at a later date. (Dkt. 131). On July 24, the Court granted
the Funds’ restitution requests in full, except for the requests for attorney’s fees, on which the
Court deferred decision pending further briefing. (Dkt. 139).

         On July 14, the Government submitted additional information about the Funds’ requests
for attorney’s fees, including supporting invoices. (Dkt. 134). On July 21, the defendant filed a
letter stating his objections to these requests. (Dkt. 136).

       B. The VAF’s Legal Fees

        The defendant argues that a significant portion of the legal fees incurred by the defendant
and third parties should not be included in restitution because they (i) relate to SEC or civil matters,
rather than the criminal investigation or prosecution; (ii) involve “block billing” such that the true
nature of the work cannot be discerned; (iii) involve multiple attorneys working on same tasks; or
(iv) include purportedly excessive hourly rates.

        The defendant has attached three exhibits to his July 21 letter, identifying the legal fees
that he argues should be excluded from restitution. Defense Exhibit A sets forth certain invoices
from the defendant’s legal fees that allegedly relate in their entirety to civil or regulatory matters.
Defense Exhibit B sets forth line items from the defendant’s legal fees that allegedly relate to civil
or regulatory matters. Defense Exhibit C sets forth line items from the third-party legal fees that
allegedly relate to civil or regulatory matters. 1

           1. The VAF and the Government Do Not Seek Restitution for Invoices Listed in
              Defense Exhibit A

        Since the defendant filed his letter, the Government has carefully reviewed the VAF’s
request and has determined that in the interest of efficiency, the invoices listed in Defense Exhibit
A, which were billed using billing codes for the defendant’s SEC or civil matters, should be
removed from the VAF’s request. 2

        As background, each of the law firms hired by the defendant set up separate billing systems,
so that they could separately track their work on the criminal matter, using one billing code, and
the SEC/civil matters, using a different code. When the law firms submitted their invoices to the
VAF for reimbursement, the law firms certified that the invoices were accurate. The invoices
listed in Defense Exhibit A were invoices filed by these law firms using the codes for their

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 The defendant also argues that restitution should not include the legal fees of third parties. This
portion of his argument is moot, as the Court has already held that the legal fees of third parties
are recoverable in restitution. (July 24 Order at 26 (citing United States v. Afriyie, 27 F.4th 161,
173 (2d Cir. 2022))).
2
 The Government has communicated with the VAF about this modification, and the VAF does
not have an objection to proceeding in this manner.

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SEC/civil matters. Several of these invoices were already excluded from the previous request for
restitution, but for efficiency’s sake and to avoid any confusion, the Government asked the VAF
to recalculate its restitution request to exclude these invoices. This resulted in a reduction of
$311,588.24, such that the VAF’s revised restitution request regarding the defendant’s attorney’s
fees is $19,923,908.05. 3

           2. The Requested Attorney’s Fees Referenced in Defense Exhibits B and C Relate
              to the Criminal Matter

        The remainder of the requested fees should be granted in full, as they relate to participation
in the criminal investigation and prosecution. See 18 U.S.C. § 3663(b)(4); see also United States
v. Afriyie, 27 F.4th 161 (2d Cir. 2022). Turning to Exhibit B, many of these line items come from
the Civil Invoices listed in Defense Exhibit A and, as noted above, have been excluded from the
revised restitution request. The remainder come from invoices submitted by the defendant’s
former lawyers under the billing codes for the criminal matter. As noted above, these billing
records were prepared and submitted by experienced lawyers who certified their accuracy. The
use of the criminal matter billing code is therefore reliable evidence that these fees relate to the
criminal investigation and prosecution, and are therefore recoverable under the relevant statutes,
and these billing records provide more than a sufficient basis to make a “reasonable estimate” of
the losses incurred, United States v. Milstein, 481 F.3d 132, 137 (2d Cir. 2007).

         Similarly, the line items identified in Exhibit C are all recoverable. Prior to submitting its
initial restitution request, the VAF reviewed these third-party invoices and included in its request
only the line items that related to the criminal matter. (See Dkt. 129, at 5). 4 Only two line items
identified in Defense Exhibit C appear to have been erroneously included, but because in both
instances, an identical, recoverable expense was erroneously not included, the errors do not affect
the final amount of the request. The first, a highlighted entry for $280.50 billed for “email
communications with SEC staff” on September 19, 2022, is clearly a mistake, as there is an
identical billing entry two lines earlier that was not highlighted, noting $280.50 billed for “call
with Milbank regarding DOJ matter.” IQCM-SDNY-00001003. In other words, the wrong line
was highlighted, but because both entries were for $280.50, the error has no effect on the ultimate
restitution request. The second is a highlighted entry for $374.00 billed for a “call with D. Tudor
and J. Brodsky at SEC” on May 9, 2022. Here, again, just three lines later, there is $374 billed for
a “call with USAO regarding DOJ matter” that is not highlighted. Again, an error in highlighting,
with no effect on the ultimate amount requested. The defendant’s challenges to the other line items

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  The defendant stated in his July 21 letter that removing these invoices would reduce the request
by $359,043.54. Because some of these invoices had already been excluded from the prior
restitution request, the actual reduction is less.
The VAF has also excluded any fees from the invoices with BATES ending in -1092, -1096, and
-1225, as these relate to SEC/civil matters.
4
  These invoices were attached to the Government’s July 14, 2023 letter, and bear BATES IQCM-
SDNY-00000982 through IQCM-SDNY-00001057. Only the highlighted entries were included
in the restitution request.

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in Exhibit C are without merit, as they clearly relate to the criminal matter, and Court should grant
the restitution request for third-party attorney’s fees of $595,297.67.

           3. The Requested Attorney’s Fees Are Not Excessive

        The defendant’s remaining challenges to the attorney’s fees are without merit. There is
nothing inherently wrong with reimbursement for fees that were subject to “block billing,” or
including multiple tasks in one entry, so long as the Court can determine that everything in the
entry is properly reimbursable. Here, the “block billing” entries involve multiple tasks in
furtherance of the criminal investigation. For example, the defendant takes issue with a November
22, 2021 entry noting that the lawyer billed four hours for “Review database files to identify
additional documents for presentation binder. Review revised talking points and draft presentation
binder; internal correspondence re: revisions to same. Confer with J. Klein re: presentation prep.
Review May/June 2020 Lindell and Velissaris email communications.” IQCM-SDNY-00001009,
at 9; (Def. Ex. C, at 5). But all of these tasks were clearly part of this lawyer’s preparation for an
upcoming DOJ meeting, for which the law firm prepared a binder and talking points, as a review
of the surrounding entries makes clear. See IQCM-SDNY-00001009, at 8-10.

        There is also nothing improper or excessive about multiple attorneys working on the same
matter. Indeed, it would be remarkable if multiple attorneys did not work on a criminal
investigation of this complexity and scope. As noted numerous times during the proceedings in
this case, the defendant carried on a complex fraud for multiple years. As the defendant himself
recognized when he assembled legal teams involving multiple partners at the most prestigious
firms in the city, this case was not a job for a single lawyer.

       Last, the hourly billing rates of the attorneys involved were well within the range of
standard rates in this District, and reflected their considerable expertise.

       C. The DAF’s Legal Fees

        The defendant contests $2,145 of the legal fees requested by the DAF because he claims
that several of the time entries do not properly describe the work performed (although he concedes
that supplemental information that the DAF provided later corrected this error), and because
certain entries relate to the DAF’s counsel’s attendance at the defendant’s April 7 hearing and
sentencing. The specific, contested costs are listed in Exhibit D to the defendant’s July 21 letter.

       These arguments are without merit, and the DAF’s request for $21,926.00 in legal fees
should be granted in full. The first two challenged entries were entered on the invoices as
“correspondence” with specific individuals. When the defendant asked for further information,
the DAF clarified several weeks ago that the two entries related to communications about
preparing the DAF’s restitution request in this case. This is clearly within the bounds of the
relevant statutes, and the defendant has not argued otherwise, except to claim that the DAF should
have been precluded from supplementing the factual record—a task that it undertook in a timely
manner. The defendant cites no authority for this argument, which is without merit.


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         The third challenged entry is for the DAF’s attendance at the defendant’s sentencing
hearing and hearing on his motion to withdraw his plea. This motion is similarly without merit.
Both the Victim and Witness Protection Act and the Mandatory Victims Restitution Act provides
that the defendant must reimburse victims for expenses incurred in connection with “attendance at
proceedings related to the offense.” 18 U.S.C. §§ 3663(b)(4), 3663A(b)(4). While some courts
have denied restitution to compensate for attorney’s fees incurred to permit a victim’s attorney to
observe the entirety of a criminal trial or all pre-trial proceedings, the sentencing proceeding and
hearing on a motion to withdraw a plea were proceedings at which the victim’s interests were
directly at stake and it was eminently foreseeable to the defendant and reasonably necessary to the
victim (which is an entity, not an individual) to have the victim’s attorney present for these
proceedings and prepared to represent the interests of the victim. See United States v. Avenatti,
No. 19 Cr. 373 (PGG), 2022 WL 452385, at *9 (S.D.N.Y. Feb. 14, 2022); United States v. Chan,
No. 16 Cr. 10268 (IT), 2019 WL 3975579, at *8 (D. Mass. Aug. 22, 2019). Accordingly, the DAF
is entitled to the costs of such attendance.

       Conclusion

      The defendant’s arguments are without merit, and the Court should order restitution to the
VAF of $20,519,205.72 and to the DAF of $21,926.00.



                                                Respectfully submitted,

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                                                United States Attorney

                                          by:        /s/
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cc: Counsel for defendant James Velissaris




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